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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                     CRIMINAL ACTION NO. 1:06CR129


PATRICK BUSBY, ET AL

                                              ORDER

       This cause is before the Court on a Motion to Continue Trial [102] by defendant Busby. The

Court, having reviewed the motion and being otherwise fully advised in the premises, finds as

follows, to-wit:

       The trial of this matter is currently set for May 21, 2007. Counsel for defendant avers that

she has recently been retained to represent the defendant and requires additional time to review

discovery and conduct necessary investigative activities. The government has no objection to the

relief requested in the instant motion. Based on the foregoing, the Court finds that the defendant’s

Motion for Continuance is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from March 21, 2007 until the new trial date to be set in this matter. The time

is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant a reasonable time for adequate and effective preparation

of his defense. Therefore, the ends of justice served by the granting of this continuance outweigh

the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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  1.    Defendant Busby’s Motion for Continuance [102] is GRANTED;

  2.    That the trial of this matter is continued as to all defendants until Monday, October

        1, 2007 at 9:00 a.m. in the United States District Courthouse in Greenville,

        Mississippi;

  3.    That the delay from May 21, 2007 until October 1, 2007 is excluded as set out above;

  4.    That the deadline for filing pretrial motions is September 10, 2007;

  5.    That the deadline for submitting a plea agreement is September 17, 2007.

  SO ORDERED, this the 2nd day of May, 2007.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
